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                                     #:40307



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15
                                   UNITED STATES DISTRICT COURT
16

17                        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
18

19      JENNY LISETTE FLORES, et al. ,           )   Case No. CV 85-4544-DMG-AGRx
                                                 )
20               Plaintiffs,                     )   NOTICE OF FILING OF CORRECTED
        - vs -                                   )   EXHIBITS B AND C, AND EXHIBIT D IN
21
                                                 )   SUPPORT OF MOTION TO ENFORCE
22      WILLIAM BARR, Attorney General of        )   SETTLEMENT OF CLASS
        the United States, et al.,               )   ACTION
23
                                                 )
24           Defendants.                         )   Hearing: September 4, 2020
25
        _______________________________          )   Time: 11:00 A.M.

26                                                   Judge: Hon. Dolly Gee
27

28
       ///
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1      To defendants and their attorneys of record:
2            PLEASE TAKE NOTICE that Plaintiffs hereby attach and file corrected Exhibit B
3
       (Flores Settlement Agreement Notice of Rights [with Plaintiffs comments inserted]),
4
5      Exhibit C (Flores Class Member Release Protocol), and new Exhibit D (Flores
6      Settlement Parent/Guardian Release Decision). Plaintiffs have made minor technical
7
       changes and corrected typographical errors to previously filed Exhibits B and C and
8
9      are now filing as Exhibit D a proposed Flores Settlement Parent/Guardian Release
10
       Decision, a document with minor modifications Plaintiffs and Defendants previously
11
       drafted and discussed over several weeks while meeting and conferring pursuant to
12
13     this Court’s Orders.
14
       Dated: August 17, 2020.                        Respectfully submitted,
15
                                                      CENTER FOR HUMAN RIGHTS &
16
                                                      CONSTITUTIONAL LAW
17                                                    Peter A. Schey
                                                      Carlos Holguín
18
19                                                    USF SCHOOL OF LAW
                                                      IMMIGRATION CLINIC
20
                                                      Bill Ong Hing
21
                                                      LA RAZA CENTRO LEGAL, INC.
22
                                                      Stephen Rosenbaum
23
24                                                    _________Peter Schey_______
25                                                     Attorneys for plaintiffs
       ///
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                           EXHIBIT B
      Case 2:85-cv-04544-DMG-AGR Document 921 Filed 08/17/20 Page 4 of 18 Page ID
                                      #:40310

                           Flores Settlement Agreement Notice of Rights

READ THIS NOTICE CAREFULLY. IF YOU CANNOT READ IT, YOU CAN ASK FOR
SOMEONE WHO SPEAKS YOUR LANGUAGE OR DIALECT TO READ IT TO YOU. YOU
MUST BE GIVEN THIS NOTICE WITHIN 48 HOURS OF COMING INTO A FAMILY
RESIDENTIAL CENTER, INCLUDING THE BERKS FAMILY RESIDENTIAL CENTER, THE
KARNES COUNTY RESIDENTIAL CENTER, AND THE SOUTH TEXAS FAMILY
RESIDENTIAL CENTER.

With some exceptions, all minors detained in immigration custody have certain rights under an
agreement signed by the Federal Government in the “Flores case.” Detained parents do not have
rights under the Flores agreement. You are being given this Notice to explain some of the rights that
any minor child detained with you may have under the Flores case, including rights related to release
from immigration custody. You are also being given a list of free legal service providers who you
may contact. If you were not given the list, then ask an immigration officer to give you the list of
legal service providers.

You may decide whether you wish to identify a sponsor to whom the Federal Government may
release your minor child(ren) under the Flores case, or allow the child(ren) to remain in immigration
detention with you. The sponsor may be a family member of your child (such as a parent,
grandparent, uncle, aunt, or brother or sister), or an unrelated family friend, living here in the United
States.

You can change your mind with regard to any decisions you make under the Flores case while you
and the minor child(ren) remain detained together. You are not required to make any decisions. If
you do not make any decisions, your child(ren) will continue to be detained together with you.

You have the right to keep this Notice with you at all times. You may keep this Notice with you even
if you cannot read or understand it.

If a Sponsor you have identified is unable or unwilling to travel to the place where you are detained
with your child, you may designate another person who will transport your child to any Sponsor you
have identified and ICE has approved to care for your child. ICE may conduct a background check on
this person to determine if it believes the person will safely transport your child to your selected
sponsor. If ICE decides that the person you selected is not appropriate to transfer your child to the
approved sponsor, you. may then select a different adult to transport your child.

[Plaintiffs’ Comment:1 FSA Exhibit 2(k) states, “[w]hen a minor is to be released, the INS will assist
him or her in making transportation arrangements to the INS office nearest the location of the person
or facility to whom a minor is to be released. The INS may, in its discretion, provide transportation to
such minors.” Unless parents are allowed to coordinate transportation for their child(ren)’s release
by securing transportation with a verified person, INS is impermissibly interfering with the
child(ren)’s right to release, and violates the FSA’s mandate to “assist” in “making [transportation]
arrangements.” This is especially true where no other transportation is available, so denying




1 Plaintiffs’ comments inserted here are not included in the proposed advisal of rights attached as Exhibit 1 to
Plaintiffs’ proposed Order.

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transportation with another background-checked adult amounts to denying a child’s right to release
“without unnecessary delay” under FSA ¶ VI.]

With a few exceptions, all children (ages 0-17) in immigration detention have rights under the Flores
case. They have the right to safe and sanitary conditions of detention including at least a bed, cot, or
mattress to sleep on; and blankets, food, drinking water, medical and dental care, emergency health
care services, clean bathrooms, toothbrushes, soap, towels, change of clothing, baby products,
educational services, recreation time, family reunification services designed to identify relatives in the
United States, and the right to legal representation at no cost to the U.S. Government.

[Plaintiffs’ comment: See FSA Exhibit(s) 2(k) & FSA ¶ 1(A)(1-14).]

Unless they are an escape risk or a danger to themselves or others, your children also have e the right
to be held in a non-secure facility that is licensed by a state to care of dependent children.

[Plaintiffs’ comment: See FSA ¶¶ 6, 12A,19.]

If you want your child(ren) to be released to a relative living in the United States, you or your lawyer
must advise ICE of your decision and provide information about the persons to whom you may want
your child released. This information should include the names of all your chosen sponsors, and the
contact information you have such as their email addresses, telephone numbers, addresses, and their
relationship to your child (for example, another parent, grandparent, brother, sister, uncle, aunt).

[Plaintiffs’ comment: See FSA Para. 14]

Under the Flores case your child(ren) may also be released to a licensed group home close to where
your relatives live. In addition, in the discretion of ICE, your child may be released to a responsible
unrelated adult that you select. The Government may ask that you provide information about this
person or a licensed group home to make sure that your child(ren) will be in a safe situation. Your
lawyer may help you to identify licensed group homes close to where your relatives live.

[Plaintiffs’ comment: See FSA Para. 14; FSA Exhibit 2(d)(4)- “Minors shall be released, in the
following order of preference, to [. . .] (iv) an adult individual or entity designated …”]

If your child is released without you, you may be transferred by ICE to different detention center. If
your child is released to a relative, you will not lose your right to make decisions for your child unless
the sponsor, with your consent, becomes a legal guardian for your child. Your child will still have a
deportation hearing where he or she can apply to remain in the United States.

If ICE decides not to release your child, ICE must provide you or your child with (i) a written
explanation for its decisions,(ii) a Form I-770, (iii) a list of free legal services unless previously given
to you or your child, and (iv) an explanation bout your right to challenge ICE’s decision in a federal
court.

[Plaintiffs’ comment: See Paragraph FSA 24B,D and Exhibit 2 ¶ J]

Remember that you are not required to make a decision about your child(ren)’s release. If you make
no decision, your child will remain with you in detention. Any decision you make must be voluntary
and made with an understanding of your child’s Flores rights. No one may coerce you into making
any particular decision. You may make a decision based on what you believe is in your child’s best
interest.

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Before you make any decisions about whether you want your child(ren) to remain with you or to be
released, you should speak with a lawyer. If you do not have a lawyer, then you can call the lawyers
or organizations on the list an immigration officer must give you. You can also telephone family
members, friends, or any other individual of your choice about your decision regarding your child’s
Flores rights. You can speak with a lawyer and your family members as often as you want. You must
be provided with opportunities to make free calls to a lawyer and to your family members. You may
also ask your Case Manager or your attorney to assist you setting up a call or meeting with a social
worker you or your attorney identify. If you have any questions about your children’s rights under the
Flores case, you may also telephone without charge the attorneys for children in the Flores case at
800-xxx-xxxx [phone number to be provided]




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                           EXHIBIT C
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                         Flores Class Member Release Protocol

This instruction has been approved by the U.S. District Court for the Central District of
California in Flores v. Barr, No. 85-04544 (C.D. Cal. filed July 11, 1985) and must be adhered
to by all U.S. Immigration and Customs Enforcement (ICE) employees. This instruction
supplements Exhibit 1 (Minimum Standards For Licensed Programs) and Exhibit 2 (Instructions
to Service Officers Re: Processing, Treatment, and Placement of Minors ) to the Flores
Settlement (copies attached) which must also be adhered to by ICE officers.

1. Class Members

Under Paragraph 10 of the FSA, Class Members are “All minors who are detained [for
immigration purposes] in the legal custody of [ICE, U.S. Customs and Border Protection, or the
Office of Refugee Resettlement].” The FSA excludes from the definition of the term “minor”
“an emancipated minor or an individual who has been incarcerated due to a conviction for a
criminal offense as an adult.” FSA ¶ 4.

2. Written Notice of Class Member’s right to release

The Flores Settlement Agreement Notice of Rights (Notice of Rights), attached as Exhibit 3,
must be provided to all accompanying parents or legal guardians and to any Class Members age
14 or older within 24 hours of the Class Member being booked into an ICE family residential
center (FRC). They shall, at the same time, be provided a copy of the Flores Settlement
Parent/Guardian Release Decision (Release Decision) attached as Exhibit 4. Whenever a
parent completes this form and provides it to ICE, ICE shall provide the parent with a copy of
the completed form.

ICE shall determine within 24 hours of taking custody of a Class Member what languages or
dialects the Class Member’s accompanying parent or legal guardian speaks or reads. ICE shall
provide the Notice of Rights and Release Decision in a language that the parent or legal
guardian understands, or have such forms read to the parent or legal guardian by a certified
translator or interpreter in a language or dialect he or she understands.

Unless an ICE officer verifies that it has already been provided and the parent or legal guardian
still has it in his or her possession, ICE shall provide, along with the Notice of Rights and
Release Decision, the current EOIR List of Pro Bono Legal Service Providers. If the list is not
current and accurate, ICE shall modify it so it is current and accurate. When a family unit with
at least one Class Member is transferred together to another facility, the Class Member’s
accompanying parent or legal guardian shall be provided the EOIR List of Pro Bono Legal
Service Providers within 48 hours of arriving at the new facility.

Under no circumstances shall accompanying parents or legal guardians be asked to make a
decision regarding release of a Class Member at the time they are provided the Notice of
Rights, Release Decision, and EOIR List of Pro Bono Legal Service Providers.

3. Custody Determinations




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8 C.F.R. § 1236.3 requires ICE to assess and document whether an adult parent should be
released from ICE custody to effectuate the release of a child from custody. This should be done
before ICE makes any decision about releasing a minor without his or her parent. Whether or
not ICE decides to release a parent or legal guardian, the parent has the option to (1) identify
any sponsor(s) to whom the parent would like ICE to consider releasing his or her child(ren); or
(2) waive the child(ren)’s right to release under the FSA so that the family remains detained
together; or (3) make no decision regarding release of the child, in which case the child will
remain detained with the parent.

6. Parent’s or Legal Guardian’s Decision regarding a Class Member’s Right to Release

Parents or their counsel of record may inform ICE at any time that a parent wishes to keep their
child(ren) with them in detention or have them released to a sponsor. ICE shall record any
decision by a parent in the parent’s child’s or children’s A file(s) and shall obtain from the
parent or the parent’s counsel of record the names, addresses, telephone numbers, email
addresses of sponsors to whom the parent may want their child(ren) released and the
relationship of the sponsor to the detained child. ICE shall record any decision by a parent along
with the names, addresses, telephone numbers, email addresses of sponsors to whom the parent
may want their child(ren) released

Upon obtaining information about a sponsor or sponsors identified by a parent or the parent’s
counsel of record, ICE shall promptly commence and record steps to assess the proposed
sponsor’s suitability unless: (i) ICE determines in its discretion to release the Class Member’s
parent or legal guardian along with the Class Member, or (ii) determines that the Class Member
is a flight risk as defined in the FSA or a danger.

A parent may designate an adult who will transport their child to any sponsor the parent
identified and ICE has approved to care for the child. ICE may run a background check on any
such adults designated by a parent and decline to transfer the child to the adult’s custody for
transportation to the approved sponsor if the adult has a criminal history or an outstanding arrest
warrant such that the child may not be safe being transported by the adult. Alternatively, ICE
may transport the child to the approved sponsor’s home.

Should a parent or legal guardian have questions regarding his or her rights or responsibilities
and/or those of the Class Member, ICE will inform them, consistent with the Notice of Rights,
that they may speak with a lawyer, a legal representative, family member, friend, a social
worker, or other individual of their choice.

7. Collecting information from potential sponsors

Promptly after being provided information regarding a Class Member’s potential sponsors on
the Flores Settlement Parent/Guardian Release Decision, pursuant to Paragraph 6 above,
ICE will, without unnecessary delay, make and record efforts aimed at the release of the Class
Members. These steps will include:

A.        Contacting potential sponsors



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ICE will promptly contact the identified sponsors by both telephone and email, when provided
with an email address. Whether contacted by telephone or email, ICE will inform the potential
sponsor (i) that the parent or legal guardian (identified by name) wishes to have their child(ren)
(identified by name) released to the sponsor, and (ii) ICE is required to assess the willingness
and ability of the sponsor to safely care for the Class Member.

Unless the potential sponsor advises ICE that he or she is unwilling to care for the Class
Member, ICE will without unnecessary delay provide the potential sponsor with the Affidavit of
Support (Form I-134) and an agreement (Sponsor Agreement) to:
1. provide for the minor’s physical, mental, and financial well-being;
2. ensure the minor’s presence at all future proceedings before ICE and the immigration court;
3. notify ICE and the immigration court of any change of address within five days following a
move;
4. in the case of sponsors other than parents or legal guardians, not transfer custody of the
minor to another party without the prior written permission of the ICE Field Office Director, or
his or her designee;
5. notify the ICE Field Office Director or his or her designee at least five days prior to the
sponsor’s departing the United States of such departure, whether the departure is voluntary or
pursuant to a grant of voluntary departure or order of removal; and
6. if dependency proceedings involving the minor are initiated, notify the ICE Field Office
Director or his or her designee of the initiation of such proceedings and the dependency court of
any immigration proceedings pending against the minor.

ICE shall request that the potential sponsor return the completed Affidavit of Support (Form I-
134) and sponsor Agreement as promptly as possible and shall accept such documents via email
or U.S. Postal Service or any other means.

If the completed Affidavit of Support (Form I-134) and Sponsor Agreement are not promptly
received, ICE will attempt to contact the potential sponsor to obtain the completed forms. If the
potential sponsor provides an incomplete Affidavit of Support (Form I-134) or sponsor, ICE
shall contact the potential sponsor to obtain missing or corrected information.

ICE may also request that the potential sponsor provide a copy of photo identification.

If the completed Affidavit of Support (Form I-134), Sponsor Agreement, and if requested photo
identification are not reasonably promptly received, ICE shall commmence communication with
any second or third proposed sponsor(s) identified by a parent and follow the. same steps
outlined above. For the period of time during which ICE is awaiting receipt of the completed
Affidavit of Support (Form I-134) and Sponsor Agreement, the child(ren) may lawfully
continue to be detained together with the parent or legal guardian. This process will not prevent
the lawful removal of a Class Member, should he or she become subject to a final removal order
during the process and there are no legal impediments (e.g., a stay of removal) to immediate
removal.


B.        Informing Parent or Legal Guardian of Status of Release to a Sponsor



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Upon making contact with a potential sponsor named by a parent or legal guardian, ICE will
advise the parent or legal guardian, in writing, that contact was made, whether the potential
sponsor indicated a willingness to take custody of the child(ren), and whether and/or when the
required sponsor affidavit and affidavit of support were forwarded to the potential sponsor. This
will allow the parent or legal guardian to communicate with the potential sponsor, ensure the
potential sponsor has received the materials, and monitor when the materials are completed and
returned to ICE. It is the responsibility of the potential sponsor and the parent or legal guardian
or their attorney or legal representative to provide all necessary materials to ICE.

If ICE determines that none of the proposed sponsor arrangements are appropriate under
Paragraph 14 of the FSA, then the parent or legal guardian will be informed in writing in a
language they understand why ICE has determined that a proposed sponsor is not an appropriate
placement for the parent’s child(ren), and that they may submit the names and contact
information of other possible sponsors if they have not already done so.

Paragraph 24.D of the FSA also requires that ICE promptly provide each parent or legal
guardian of a Class Member not released with: (a) INS Form 1-770; (b) an explanation of the
right of judicial review as set out in Exhibit 6 of the Flores Settlement Agreement, and unless
already provided; and (c) the list of free legal services available in the area in which the minor is
detained (unless previously given to the parent).

If ICE determines a proposed sponsor’s arrangement to be appropriate under Paragraph 14 of
the FSA, then the Class Member will be released to the designated sponsor, upon ICE receiving
written consent from the parent or legal guardian authorizing the release of the parent’s
child(ren) to the sponsor.

C. Suitability assessments

ICE may also interview the proposed sponsor to ensure that they are able to satisfy the
requirements of the Sponsor Agreement and safely care for the Class Member if released to the
proposed sponsor. ICE may, for example, obtain the proposed sponsor’s ICE or USCIS “A”
number if they have one so that the agency may determine whether the proposed sponsor is
under a final order of removal or has an outstanding arrest warrant, either of which may indicate
that the child should not be released to the proposed sponsor. ICE may conduct background
checks of all potential sponsors and adults living in the sponsor’s residence.

All such steps taken and the results will be recorded in the Class Member’s A file.

9. Termination of sponsor custody arrangements

Paragraph 16 of the FSA allows ICE to terminate the custody arrangements and assume legal
custody of any Class Member whose sponsor fails to comply with the FSA Paragraph 15
Release Agreement, except for the requirements of subsection (C) failure to notify ICE or the
immigration court of any change of address within five (5) days following a move. Should ICE
terminate a sponsor’s custody arrangement, recognizing that such terminations may need to
occur with little notice, prior to taking the Class Member back into custody, ICE will consider
the availability of any alternative sponsor to the extent practicable.


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      Should ICE intend to. terminate a sponsor. Custody arrangement, and if the minor’s parent is till
      detained by. ICE or if ICE. has the parent’s current location or telephone number, and unless
      exigent circumstances require ICE to act immediately, it shall notify the parent why it intends to
      terminate a sponsor’s custody arrangement and determine whether the parent wishes to. identify
      an alternative sponsor. If the parent does so, ICE shall assess the suitability of the new proposed
      sponsor following the steps outlined above when assessing sponsors in the first instance.

      10. Right to Bond Hearing

      Paragraph 24.A of the FSA requires that all minors in removal proceedings shall be afforded a
      bond redetermination hearing before an immigration judge, unless the minor, indicates on the
      Notice of Custody Determination form that the minor refuses such a hearing. It is ICE’s
      responsibility to schedule such bond hearings.

      11.       Service of documents

      Any documents provided to a parent or a minor to implement this protocol or comply with the
      FSA shall be forwarded by email or mailed by first class mail to the parent’s and minor’s
      attorney(s) of record. Notwithstanding the foregoing, when a parent or Class Member is
      provided the Notice of Rights and a list of free legal services, rather than forwarding copies of
      these documents to the parent’s or Class Member’s counsel of record, ICE may, at its option,
      simply notify the counsel of record by email or first class mail that these documents have been
      provided to the parent or Class Member.

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                           EXHIBIT D
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                  Flores Settlement Parent/Guardian Release Decision

Before you make any decisions about your child’s rights under the Flores case, you should
speak with a lawyer, legal representative, family member, friend, social worker, or other
individual of your choice.

If you don’t have a lawyer and want to speak to one, then you can call the lawyers or
organizations on the list given to you by an immigration officer. Any decisions you make about
your child’s rights under the Flores case must be made by you voluntarily and with an
understanding of your child’s rights.

You have been given a document called the Flores Settlement Agreement Notice of Rights. If
you have not been given that document, ask an ICE officer or your attorney to give you a copy
of the Flores Settlement Agreement Notice of Rights before you complete this form. Read the
Flores Settlement Agreement Notice of Rights carefully and discuss it with a lawyer.

If you decide your child should be released to a sponsor living in the United States, ICE must
get some information about the sponsor to make sure he/she can provide a safe home for your
child.

Providing the information requested on this form does not mean you have made a final
decision to have your child(ren) released to any particular sponsor at this time. When you
complete this form it will allow ICE to contact your proposed sponsors to see if they are willing
to provide your child with a safe place to live. If ICE decides to release you before your
child is released to a sponsor you have selected, then you and your child(ren) may be
released together.

If the sponsors you have identified are unable or unwilling to travel to the place where you are
detained to pick up your child, you may identify another person on this form who will transport
your child to any sponsor you have identified and ICE has approved to care for your child.

You must complete this form if you would like ICE to release your child(ren) to a sponsor
under the Flores case.

If you are unable to provide all the information being requested below, please answer to the
best of your ability. You can ask to update your responses at any time if additional information
becomes available to you.

If you complete this form, show it to your ICE Deportation Officer and ask the officer to give
you a copy of the completed form.

If you previously completed this form and said that you wanted your child(ren) to remain in
detention with you, but you have changed your mind and now want your child(ren) released,
then you or your attorney should ask an ICE officer for a new form to fill out. Complete the
form, show it to your ICE Deportation Officer, and ask the officer to give you a copy of the
completed form.


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If you previously completed this form and said that you wanted your child(ren) released but
now have changed your mind, you or your attorney should tell an ICE officer that you have
changed your mind and no longer want your child(ren) released. Request a new form like this
one. Complete the form, show it to your ICE Deportation Officer, and ask the officer to give
you a copy of the completed form.

It is your choice whether to have your child released or have your child remain with you
in detention. Whatever you decide, you can always change your mind before your child is
released. Once your child(ren) is released, you cannot change your mind and have your
child(ren) brought back into detention. Remember, you are NOT required to fill out this
form.

Information about you and your child(ren)

1. Date _____________ Your name: ___________________________________________
Your A number: __________________
2. Names of your child(ren) you have decided you do not want released unless you are released
with them:
__________________________________________________________________________
3. Names of child(ren) you have decided you do want released even if you are not released with
them:
_____________________________________________________________________________
_

Information about your sponsors

1. Name of your first choice of the sponsor you want your child(ren) released to:
_____________________________________________________________________________
Telephone Number: _____________________ Email Address:
__________________________
Street Address: ____________________________________________ Apartment #: ________
City: ____________________________ State: _____________ Zip Code: ________________
How is the sponsor related to your child: parent /__/,     grandparent /__/, uncle or aunt /__/,
brother or sister /__/, unrelated family friend /__/
Have you already contacted the sponsor to find out if they are willing to care for your child?
Yes /__/      No /__/
If yes, has the sponsor agreed to care for your child(ren)? Yes /__/ No /__/ Don’t know /__/

2. If you have a second choice of who you want your child(ren) released to, fill this out:
Telephone Number: _____________________ Email Address:
__________________________
Street Address: ____________________________________________ Apartment #: ________
City: ____________________________ State: _____________ Zip Code: ________________
How is the sponsor related to your child: parent /__/, grandparent /__/, uncle or aunt /__/,
brother or sister /__/, unrelated family friend /__/
Have you already contacted the sponsor to find out if they are willing to care for your child?
Yes /__/      No /__/


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If yes, has the sponsor agreed to care for your child(ren)? Yes /__/   No /__/ Don’t know /__/

3. If you have a third choice of who you want your child(ren) released to, fill this out:
Telephone Number: _____________________ Email Address:
__________________________
Street Address: ____________________________________________ Apartment #: ________
City: ____________________________ State: _____________ Zip Code: ________________
How is the sponsor related to your child: parent /__/, grandparent /__/, uncle or aunt /__/,
brother or sister /__/, unrelated family friend /__/
Have you already contacted the sponsor to find out if they are willing to care for your child?
Yes /__/      No /__/
If yes, has the sponsor agreed to care for your child(ren)? Yes /__/ No /__/ Don’t know /__/

4. Does your child(ren) have a medical condition that could make it difficult for the sponsor to
care for your child(ren)? /__/yes       /__/ no
5. If yes, briefly describe the medical condition: ______________________________________
_____________________________________________________________________________
_

6. If you believe the sponsors you have identified may be unable or unwilling to come to the
facility where you are detained to pick up your child, you may identify someone else to
transport your child to any sponsor you have identified.

Name of person who you want to transport your child to a Caregiver you have identified:
_____________________________________________________________________________
Telephone: _____________________ Email address (if known): ________________________
Is this person a relative of your child: Yes /__/. No /__/
If a relative, what is their relationship to your child: Parent /__/ Brother /__/ Sister /__/ Uncle
/__ Aunt /__/ Grandparent /__/. Other _____________

You should consult with an attorney or legal representative before signing this form. You are
not required to sign this form unless you have decided that you may want your child released or
are changing your mind after submitting the form.

                                          Certification

I (Name of Parent or Legal Guardian) ___________________________ certify that the
information furnished above is correct to the best of my knowledge. I also certify that I was
given a sufficient opportunity to consult with an attorney, or a legal representative, for
assistance with completing this questionnaire. I submit this information voluntarily and free of
coercion. I understand I am not required to sign this form unless I want my child released to a
sponsor.

Signature of Parent or Legal Guardian: __________________________________________
Date: ___________________




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    If you have an attorney or Legal Representative, you may but are not required to ask the
    attorney or legal representative to sign below,

    I am the attorney of record for the above detainee. I have reviewed this form with my client and
    have explained each item of the form to him/her, and I have explained the detainee’s relevant
    rights and those of his/her child(ren) to him/her. I have also answered all of his/her questions
    with regard to those rights and the items contained in this form.

    Signature of Attorney or Legal Representative: _______________________________________
Date: ______________________

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1
2                                   CERTIFICATE OF SERVICE
3
4       I hereby certify that on August 17, 2020, I served the foregoing pleading on all
5       counsel of record by means of the District Clerk’s CM/ECF electronic filing system.
6
                                               /s/ Peter Schey
7                                              Peter A. Schey
8                                              CENTER FOR HUMAN RIGHTS &
                                               CONSTITUTIONAL LAW
9                                              Class Counsel for Plaintiffs
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